Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 1 of 22 PageID# 2812




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


  Intersections Inc. and Net Enforcers, Inc.,

                      Plaintiffs,                       Civil Action No. 1:09CV597 (LMB/TCB)
                 v.

  Joseph C. Loomis and Jenni M. Loomis,

                      Defendants.


  PLAINTIFFS’ RESPONSE TO JOE LOOMIS’ OBJECTIONS TO DISQUALIFICATION
         OF EMIL W. HERICH AND KEATS MCFARLAND & WILSON LLP

         Plaintiffs Intersections Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI”)

  (collectively, “Plaintiffs”) respectfully submit this Response to Defendant Joseph C. Loomis’

  (“Joe Loomis”) Objections to Magistrate Judge’s Decision on Nondispositive Matter and

  Request for Reconsideration by District Court of Magistrate Judge’s Ruling regarding the

  disqualification of Emil W. Herich and Keats McFarland & Wilson LLP (the “Objections”).

                                       I.       INTRODUCTION

         Keats McFarland & Wilson LLP (“Keats McFarland”) represented NEI as outside legal

  counsel in October and November 2007 in conjunction with Intersections’ acquisition of NEI

  (the “Acquisition”), providing legal services to NEI related to its cease and desist letter process

  which was being reconfigured. After Closing, Keats McFarland and NEI entered into a business

  relationship related to the new letter process whereby NEI investigated IP infringement and

  populated cease and desist letters and Keats McFarland issued the letters and billed the

  customers instead of NEI.         During this time, Joe Loomis and Jenni Loomis (collectively,

  “Defendants”) overcharged certain customers for letters that were never sent and double billed

  customers who were billed by Keats McFarland for the same services. These actions form, in
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 2 of 22 PageID# 2813



  part, the basis for Plaintiffs’ fraud and conspiracy claims. It thus is beyond reasonable dispute

  that the Virginia Rules of Professional Responsibility would prohibit Keats McFarland from

  representing Joe Loomis against NEI in this case.

         Keats McFarland, however, now seeks to switch sides and represent Joe Loomis against

  NEI in this litigation despite the ethical conflict. Indeed, Emil W. Herich entered his appearance

  in this case under the veil of the “Law Offices of Emil W. Herich,” failing to disclose to the

  Court that he is Of Counsel to Keats McFarland. Upon learning of the ethical conflict, Plaintiffs

  filed a Motion to Disqualify Emil W. Herich and Keats McFarland & Wilson LLP from

  representing Joe Loomis against NEI in this case (the “Disqualification Motion”).

         On September 3, 2010, after full briefing and a hearing, this Court entered an Order

  disqualifying Emil Herich and Keats McFarland from appearing as counsel on behalf of Joe

  Loomis in this case (the “Disqualification Order”). Joe Loomis now seeks a do-over in the form

  of Objections to the Disqualification Order and improperly asks the Court to consider new

  “evidence” in the form of two supplemental Declarations filed after the hearing. Joe Loomis

  does not point to any clear error by the Court but instead contends that this Court should overrule

  Judge Buchanan simply because he disagrees with her ruling. Specifically, Joe Loomis claims

  that this Court lacked jurisdiction to consider the Disqualification Motion in light of the

  bankruptcy stay; that Keats McFarland did not represent NEI as counsel in a substantially related

  matter; that the confidential business relationship between Keats McFarland and NEI does not

  support disqualification; that Defendants’ identification of Larry McFarland, a principal partner

  at Keats McFarland, as a trial witness does not support disqualification; and that there is no risk

  that Keats McFarland will disclose confidential information to Joe Loomis because, contrary to

  the position of ignorance he has taken throughout this litigation, he now knows it all.




                                                   2
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 3 of 22 PageID# 2814



         Joe Loomis made these very same arguments in his opposition brief and at the hearing.

  Joe Loomis’ arguments and evidence, however, were flatly contradicted by the very documents

  he produced in discovery. Indeed, Plaintiffs submitted to the Court emails authored by Joe

  Loomis and Larry McFarland in October 2007 confirming the attorney-client relationship

  between Keats McFarland and NEI and wherein Larry McFarland provided legal advice to NEI

  regarding the letter process. Further, Joe Loomis submitted to the Court under seal the written

  agreement establishing the confidential business relationship between Keats McFarland and NEI

  regarding the new letter process, whereby Keats McFarland obtained additional confidential

  information from NEI.

         Judge Buchanan found that the credible evidence established that Keats McFarland had

  an attorney-client relationship with NEI prior to Closing related to the Acquisition and the letter

  process and a business relationship after Closing related to the letter process; Keats McFarland

  obtained confidential information through its attorney-client and business relationships with NEI

  relevant to the issues in this case; and Defendants’ identification of Larry McFarland as a trial

  witness further supports the conclusion that Keats McFarland possesses confidential information

  relevant to the underlying dispute. Judge Buchanan’s decision to disqualify Emil Herich and

  Keats McFarland was correct, and Joe Loomis’ objections thus should be overruled.

                                           II.     FACTS

         A.      Keats McFarland’s Legal Representation of NEI Before Closing

         During the course of Intersections’ due diligence regarding a potential acquisition of

  NEI’s stock from Joe Loomis in 2007, Intersections became concerned that NEI may have been

  engaged in the unauthorized practice of law and/or in improper fee sharing arrangements with




                                                  3
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 4 of 22 PageID# 2815



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  outside counsel regarding the cease and desist letter process. See Exhibit 4 to Reply (October

  12, 2007 email from Joe Loomis to Larry McFarland and Intersections, produced by Joe Loomis

  in discovery) and Exhibit 7 (continuation of October 12-13, 2007 email string between Joe

  Loomis, Larry McFarland and Intersections regarding “concerns that we have expressed

  regarding the potential unauthorized practice of law and/or potential fee sharing arrangements,”

  produced by Joe Loomis in discovery). Intersections thus requested that NEI retain legal counsel

  to advise it regarding reconfiguration of the letter process before Closing. Id.

          As the exhibits submitted in support of the Disqualification Motion establish, NEI hired

  Keats McFarland in October 2007 as outside legal counsel to provide legal services regarding the
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  Acquisition and specifically related to the letter process. On October 12, 2007, Joe Loomis sent

  an email he titled “KMW Retained Counsel Confirmation & Letter Process” to Larry McFarland

  and Intersections confirming that Keats McFarland was outside legal counsel for NEI regarding

  the Acquisition and letter process:

                  Larry,

                  I have included John [Scanlon] and Neal [Dittersdorf] on this email
                  to confirm a few things so we can proceed with next steps with the
                  acquisition of Net Enforcers.

                  1. KMW is retained outside counsel for Net Enforcers.

  1   Although Plaintiffs dispute many of the facts alleged in Joe Loomis’ Objections, Plaintiffs address
      herein only those facts relevant to the disqualification issue and incorporate herein the complete
      recitation of facts in Plaintiffs’ Response to Defendants’ Objections to the Report and
      Recommendation regarding the enforceability of the settlement agreement. Plaintiffs further
      incorporate herein by reference the Disqualification Motion, Reply to Joe Loomis’ Opposition to the
      Disqualification Motion (the “Reply”) and exhibits thereto.
  2   NEI held out Keats McFarland as its legal counsel to the public throughout 2007. See, e.g., Exhibit 1
      to Reply at CK001321 (January 8, 2007 Powerpoint presentation to a potential acquirer of NEI
      produced in discovery by Cross Keys, Joe Loomis’ investment broker, identifying KMW Law as
      counsel to NEI); Exhibit 2 to Reply at JL0186724 (August 3, 2007 Agenda for meeting with
      Intersections produced in discovery by Joe Loomis, identifying “KMW Law” as counsel to NEI);
      Exhibit 3 to Reply at JL0213008 (August 21, 2007 email from Joe Loomis to counsel for Major
      League Baseball Properties, Inc., identifying Keats McFarland as outside counsel to NEI and noting
      “I believe he [Larry McFarland] is your counsel as well (small world).”




                                                     4
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 5 of 22 PageID# 2816



  See Exhibit 4 to Reply (produced by Joe Loomis in discovery). Larry McFarland responded in

  an email to Joe Loomis and Intersections, “Joe, I agree with everything you just said.” See id.

            Indeed, in that very same email, Joe Loomis sought and obtained legal advice from his

  outside legal counsel, Larry McFarland:

                   KMW agrees that the attached C&D letter process is “ok” to
                   proceed accordingly. I want to clarify that if an infringer, recipient
                   or ISP of a letter calls Net Enforcers seeking additional
                   information or clarification on resolution, that it is, in your
                   opinion, not the practice of law as long as the information or data
                   provided is not legal advice or our clients legal position.

  See id. Larry McFarland’s affirmative response quoted above applied to this inquiry as well.

  See id.

            The next day, on October 12, 2007, Intersections’ Chief Legal Officer, Neal Dittersdorf,

  advised Larry McFarland by email of his understanding that Keats McFarland would be

  representing NEI regarding the letter process and inquired about whether he should communicate

  with NEI through Keats McFarland going forward:

                   I understand from Joe Loomis that you will be representing
                   Network [sic] Enforcers, Inc. (NEI) in connection with the
                   transformation of its current practices for cease and desist letters to
                   new practices. I am glad to hear that NEI will have solid legal
                   counsel in this area.

                                             *       *       *

                   At a minimum, I do not know whether you consent to my having
                   direct communications with NEI about this matter, or prefer me to
                   communicate through you as NEI’s legal counsel.

  See Exhibit 7 to Reply (produced by Joe Loomis in discovery).

            Larry McFarland forwarded the email to Joe Loomis the next day, who then confirmed

  Keats McFarland’s representation of NEI in another email to Intersections:

                   I realize Neal’s concern is that he is not allowed to give me legal
                   advice and that is why Larry and his firm [sic] to be involved….


                                                     5
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 6 of 22 PageID# 2817



                 I mean, didn’t Neal call me directly on my cell phone after our call
                 on Thursday and ask me questions about the process, ask me to
                 send him information but then later emails my counsel saying that
                 “I continue to communicate with him”….

  See id. (emphasis added).

         Thereafter, on October 23, 2007, Intersections sought to re-confirm which of NEI’s

  outside law firms was representing NEI with respect to the letter process. Intersections inquired

  by email to NEI:

                 I also wonder whether you could clarify which counsel represents
                 NEI in connection with these issues. Joe had earlier sent out an
                 email stating that KMW has been retained as counsel in connection
                 with those issues, but we also understand Neil Seidman is
                 reviewing the proposal.

  See Exhibit 5 to Reply (produced by Joe Loomis in discovery). NEI’s general counsel confirmed

  to Intersections in an email copied to Joe Loomis and Larry McFarland that “…KMW is

  representing NEI in connection with the issues stemming from the letters process.” See id.

         Two days later, Intersections provided Joe Loomis and Keats McFarland with a Closing

  Checklist assigning the preparation of certain Disclosure Schedules related to the letter process

  to NEI, Joe Loomis and NEI’s outside counsel, Keats McFarland. See Exhibit 6 to Reply

  (produced by Joe Loomis in discovery).

         At no time did Larry McFarland (or anyone from Keats McFarland) or Joe Loomis ever

  tell Intersections that Keats McFarland was not representing NEI. Instead, Joe Loomis and

  Larry McFarland consistently represented just the opposite to Intersections.




                                                  6
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 7 of 22 PageID# 2818



          B.      Keats McFarland’s Confidential Business Relationship With NEI After
                  Closing

          After Closing, Keats McFarland and NEI entered into a business relationship related to
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  the new cease and desist letter process.        The business relationship is governed by a written

  agreement that prohibits the parties from disclosing confidential information obtained during the

  course of the now-three year agreement to third parties, including Joe Loomis. Joe Loomis

  submitted the written agreement to the Court under seal during the hearing.

          As alleged in the Complaint, after Closing, Defendants continued to overcharge clients

  for cease and desist letters that were never sent and double billed clients who were billed by

  outside law firms, including Keats McFarland, for the same services. It is beyond reasonable

  dispute that Keats McFarland obtained confidential information related to issues in dispute in

  this litigation through its business relationship with NEI. Indeed, Defendants identified Larry

  McFarland as a trial witness in this litigation, presumably regarding the cease and desist letters.

  See Defendants’ Amended Trial Witness List, filed January 13, 2010 (docket entry #96).

          C.      Emil Herich’s Entry of Appearance

          Emil Herich filed an Application to Qualify as a Foreign Attorney Under Local Civil

  Rule 83.1(D) and Local Criminal Rule 57.4 to represent Joe Loomis in the present action (the

  “Application”) on August 6, 2010. See Exhibit 1 to Disqualification Motion. Emil Herich

  represented to the Court that he is an attorney with the “Law Offices of Emil W. Herich.”

  Timothy McEvoy, Joe Loomis’ fourth attorney in this case, vouched for Emil Herich’s fitness to




  3   On or about July 20, 2010, Keats McFarland sent a letter to NEI terminating its relationship with NEI
      as of November 8, 2010. The relationship, however, is currently ongoing.




                                                     7
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 8 of 22 PageID# 2819



  be admitted pro hac vice into this Court. This Court approved Emil Herich’s application the
              4
  same day.

         Emil Herich failed to disclose in the Application, however, that he is Of Counsel to the

  law firm of Keats McFarland. Keats McFarland’s website (www.kmwlaw.com) identifies Emil

  Herich as Of Counsel to the law firm.            See Exhibit 2 to the Disqualification Motion.

  Furthermore, Emil Herich provided in the Application a Keats McFarland email address

  (eherich@kmwlaw.com) and office address (9720 Wilshire Boulevard, Beverly Hills, California

  90212). See Exhibits 1 and 2 to the Disqualification Motion.

         D.       Disqualification of Emil Herich and Keats McFarland

         Plaintiffs moved to disqualify Emil Herich and Keats McFarland from representing Joe

  Loomis in this case on grounds that Keats McFarland has legal and ethical obligations not to use

  information relating to or gained in the course of its earlier legal representation of NEI to NEI’s

  disadvantage and a contractual obligation not to disclose confidential information obtained

  through its business relationship with NEI to third parties, including Joe Loomis. The ethical

  conflict is imputed to Emil Herich as Of Counsel to the law firm. On September 3, 2010, after

  full briefing and a hearing, Judge Buchanan properly ordered that Emil Herich and Keats

  McFarland be disqualified.

         A week after the Court issued its Order, Joe Loomis filed supplemental declarations that

  were not considered by the Court in ruling on the Disqualification Motion in support of a motion

  for reconsideration.     Joe Loomis improperly attempts to rely upon these after-the-fact

  supplemental declarations to make his case.



  4   Joe Loomis did not serve a copy of the Application upon Plaintiffs prior to the Court entering its
      August 6, 2010 Order or at any time thereafter.




                                                    8
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 9 of 22 PageID# 2820



                                       III.    ARGUMENT

         A.      Standard of Review

         It is settled that a motion to disqualify counsel is a nondispositive motion. U.S. v

  Samuels, 2008 WL 1835736, *1 (W.D. Va., April 23, 2008). Under Federal Rule 72(a), the

  Court may modify or set aside a part of a nondispositive order only where that order is clearly

  erroneous or contrary to law:

         (a) Nondispositive Matters. When a pretrial matter not dispositive of a party's
         claim or defense is referred to a magistrate judge to hear and decide, the
         magistrate judge must promptly conduct the required proceedings and, when
         appropriate, issue a written order stating the decision. A party may serve and file
         objections to the order within 14 days after being served with a copy. A party may
         not assign as error a defect in the order not timely objected to. The district judge
         in the case must consider timely objections and modify or set aside any part of the
         order that is clearly erroneous or is contrary to law.

  Fed. Rule Civ. Proc. 72(a) (emphasis added). The clearly erroneous standard requires that the

  reviewing court affirm a nondispositive order unless "on the entire evidence [it] is left with the

  definite and firm conviction that a mistake has been committed." United States v. United States

  Gypsum Co., 333 U.S. 364, 395, 68 S.Ct. 525, 542, 92 L.Ed. 746 (1948).

         Unlike with dispositive motions, the Court’s review of a ruling on a nondispositive

  motion is limited to the evidence presented to the Magistrate Judge, such that the Court may not

  consider additional evidence. U.S. v Samuels, 2008 WL 1835736, *1 (W.D. Va., April 23, 2008)

  (quoting Haines v. Liggett Group Inc., 975 F.2d 81, 91 (3d Cir. 1992) (“district court is not

  permitted to receive further evidence” upon review of Order regarding nondispositive motion);

  Virgin Enterprises Ltd v. Virgin Cuts, Inc., 149 F. Supp. 2d 220, 222-24 (E.D. Va. 2000) (Court

  only may consider additional evidence upon review of dispositive, not nondispositive, motions);

  see also, Jesselson v. Outlet Assocs. of Williamsburg, Ltd., 784 F. Supp. 1223, 1228-29 (E.D. Va.




                                                  9
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 10 of 22 PageID# 2821



  1991) (internal citations omitted) ("Review of a Magistrate's ruling before the District Court does

  not permit consideration of issues not raised before the Magistrate.”).

         Although disqualification of an attorney is a serious matter, a party’s right to choose

  counsel “is ‘secondary in importance to the Court’s duty to maintain the highest ethical standards

  of professional conduct to insure and preserve trust in the integrity of the bar.’” Sunbeam

  Prods., Inc. v. Hamilton Beach Brands, Inc., 2010 WL 2928285 (E.D. Va. July 22, 2010)

  (quoting Tessier v. Plastic Surgery Spec., Inc., 731 F. Supp. 724, 730 (E.D. Va. 1990)). “Our

  Court of Appeals has directed that ethical rules are not to be applied ‘with hair-splitting nicety,’

  but, rather, ‘with the view of preventing the appearance of impropriety, [the Court] is to resolve

  all doubts in favor of disqualification.’” Id. (quoting Sanford v. Virginia, 687 F. Supp. 2d 591,

  602 (E.D. Va. 2009) and United States v. Clarkson, 567 F.2d 270, 273 n.3 (4th Cir. 1977)).

         “‘[O]nce an attorney-client relationship had been established, an irrebuttable presumption

  arises that confidential information was conveyed to the attorney in the prior matter;’ the moving

  party does not have the evidentiary burden of showing actual disclosure of confidences.”

  Sunbeam Prods., Inc. v. Hamilton Beach Brands, Inc., 2010 WL at *3 (quoting Tessier, 731 F.

  Supp. at 730). The Court then is left with only “assessing the substantiality of the relationship

  between the present and the prior representation.” Id. Disqualification may also be warranted,

  however, where confidential information is obtained by a law firm from a third party to whom

  the law firm has a duty of nondisclosure. See Virginia Rule of Professional Conduct 1.7.

         B.      The Court Has Jurisdiction to Decide the Disqualification Motion

         Joe Loomis suggests that this Court lacks jurisdiction to decide the Disqualification

  Motion. Specifically, Joe Loomis argues that the automatic bankruptcy stay prevents this Court

  from ruling on any motion other than a motion to enforce the settlement agreement, and that

  Plaintiffs should have sought additional relief from the stay before moving this Court to


                                                  10
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 11 of 22 PageID# 2822



  disqualify his new counsel or should have had the Bankruptcy Court decide the issue. This

  unduly restrictive view of what a non-bankruptcy court can do after a stay is lifted is baseless.

  The Bankruptcy Court lifted the automatic stay to enable this Court to determine whether the

  settlement agreement entered into by the parties was enforceable. It is axiomatic that in order to

  make such a determination, this Court must have authority to adjudicate all matters related to that

  issue. See In re Nestorio, 5 Fed. App'x 283, 285-6 (4th Cir. 2001) (holding that where relief

  from automatic stay granted in order "to determine the damages and complete the litigation,"

  court’s award of both compensatory and punitive damages was properly within the order as "the

  plain language of the consent order [to lift the stay] 'did not preclude the [magistrate judge] from

  considering all issues relevant to a determination of damages.'" ). Joe Loomis cites no caselaw

  suggesting that bankruptcy courts intend to unduly bind the hands of the courts they authorize to

  decide non-bankruptcy issues, such as the enforceability of a settlement agreement. Indeed, if

  correct, Joe Loomis would have had to seek approval of the Bankruptcy Court to file the motion

  to recuse Magistrate Judge Buchanan, which he did not. Accordingly, Judge Buchanan properly

  found that the Court had jurisdiction to decide the motion for disqualification.

         C.      The Court Properly Concluded That Keats McFarland’s Prior Legal
                 Representation of NEI Supported Disqualification In This Matter

         Joe Loomis contends that Judge Buchanan improperly disqualified Emil Herich and

  Keats McFarland based on the law firm’s prior legal representation of NEI in connection with

  the Acquisition.   Joe Loomis contends that the undisputed evidence before the Court (Joe

  Loomis and Larry McFarland’s original Declarations) was that Keats McFarland did not

  represent NEI with respect to the Acquisition. As for the emails confirming Keats McFarland’s

  representation of NEI, Joe Loomis suggests that they pertained to a “potential future” attorney-




                                                  11
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 12 of 22 PageID# 2823



  client relationship between NEI and Keats McFarland after Closing that simply never

  materialized. This novel contention is belied by the evidence.

         Joe Loomis and Larry McFarland’s Declarations, prepared just weeks ago in opposition

  to the Disqualification Motion and three years after the fact, were controverted by multiple

  contemporaneous emails that they authored in 2007.        Indeed, both Joe Loomis and Larry

  McFarland confirmed the existence of the attorney-client relationship to Intersections in emails

  in October 2007. Joe Loomis produced those emails from his files in discovery, and Emil Herich

  stated on the record at the hearing that he had no basis for doubting their authenticity. The

  emails establish that during the course of its due diligence regarding NEI, Intersections became

  concerned that NEI may have been engaged in the unauthorized practice of law and/or improper

  fee sharing arrangements related to the cease and desist letter process.       Intersections thus

  requested that NEI retain outside legal counsel to advise NEI regarding the letter process. NEI

  retained Keats McFarland and then confirmed the attorney-client relationship in emails to

  Intersections. Larry McFarland also confirmed the attorney-client relationship in an email to

  Intersections and by his conduct in providing legal advice to NEI and undertaking

  responsibilities regarding the preparation of certain Schedules to the Stock Purchase Agreement

  (“SPA”) related to the letter process. The credible evidence before the Court was that Keats

  McFarland did represent NEI as outside legal counsel prior to Closing, specifically, with respect

  to the Acquisition and the letter process, which are at issue in this case. The existence of an

  attorney-client relationship raises an irrebuttable presumption that Keats McFarland obtained

  confidential information from NEI regarding the issues in dispute in this case and thus requires

  disqualification.   Notwithstanding, it is beyond reasonable dispute that Keats McFarland

  obtained confidential information from NEI through that attorney-client relationship.




                                                 12
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 13 of 22 PageID# 2824



         Joe Loomis contends, however, that the fact that NEI entered into a confidential business

  agreement with Keats McFarland after Closing suggests that Keats McFarland did not represent

  NEI as outside legal counsel before Closing. The two are unrelated. As Plaintiffs explained to

  the Court at the hearing, Keats McFarland and NEI were involved in two separate confidential

  relationships: an attorney-client relationship before Closing and a business relationship after

  Closing.   The confidential business agreement establishes the existence of the undisputed

  business relationship after Closing, but does not negate the existence of a prior attorney-client

  relationship concerning the Acquisition and letter process.

         Joe Loomis contends that the Court improperly considered documents presented by

  Plaintiffs because the documents constituted unauthenticated hearsay and the reply to which they

  were attached was filed late. This is incorrect. As explained above, there can be no reasonable

  dispute as to the authenticity of the documents, as all but one of the key documents attached as

  exhibits to Plaintiffs’ timely filed Reply were produced by Joe Loomis in discovery. Emil

  Herich represented to the Court during the hearing that he had no basis upon which to challenge

  their authenticity. Further, the emails upon which the Court focused were written by Joe Loomis

  and Larry McFarland contemporaneously with the events in question. To the extent Joe Loomis

  complains that the emails were written by witnesses who were not subject to cross-examination,

  that argument falls flat, as the key emails were authored by Joe Loomis and Larry McFarland. If

  anyone was at a disadvantage, it was Plaintiffs, who could not cross-examine Joe Loomis or

  Larry McFarland regarding their emails or their Declarations. Further, as Judge Buchanan found

  at the hearing, Plaintiffs followed all rules regarding the timing of the filing of their Reply, and

  properly used the Reply to respond to the assertions made by Joe Loomis in his opposition




                                                  13
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 14 of 22 PageID# 2825



         5
  papers. As Joe Loomis indicated in his brief, the Court has discretion to consider papers filed

  after a deadline. As Plaintiffs timely filed their Reply, the Court did not need to exercise such

  discretion.

          Joe Loomis further contends that this Court should overrule Judge Buchanan based upon

  supplemental declarations he filed a week after the hearing. As the disqualification of counsel is

  a non-dispositive motion, the Court must determine whether the disqualification was clearly

  erroneous or contrary to law based upon the evidence before Judge Buchanan at the time of the

  ruling. The two supplemental declarations filed after the hearing thus are not properly part of the
                                         6
  record to be reviewed by this Court.

          Joe Loomis further contends that Keats McFarland’s prior representation of NEI could

  not form the basis for its disqualification because the only issue currently before the Court is the

  enforceability of the settlement agreement, which is not the same or substantially similar to the

  law firm’s representation of NEI regarding the Acquisition and letter process. The settlement

  agreement may be the only issue on the table at this stage, but the possibility remains that this

  case could be returned to the trial docket at some point such that Emil Herich and Keats

  McFarland would be counsel for Joe Loomis against their former client, NEI, regarding the very

  Acquisition and letter process upon which they advised NEI as counsel and obtained confidential



  5   Plaintiffs filed the Disqualification Motion on August 20, 2010, and noticed a hearing for Friday,
      August 27, 2010. Joe Loomis requested a continuance of the hearing to September 3, 2010, which the
      Court granted. Joe Loomis, however, filed his opposition on August 25, 2010 anyway. Joe Loomis
      claims, without citation to any Rule, that Plaintiffs’ Reply was due within three days after his
      opposition. There is no such Rule. Ordinarily, any reply would be filed the day before the hearing.
      Plaintiffs’ Reply thus was due on Thursday, September 2, 2010. Plaintiffs timely filed their Reply on
      September 2, 2010 and served a copy by email on Emil Herich at 6:33 a.m. on the West Coast. Even
      if Emil Herich was in transit from California when the papers were filed early that morning, he and/or
      his co-counsel Timothy McEvoy had ample time to vet the issues before the hearing the following
      day.
  6   If this Court were inclined to consider evidence outside the record, however, Plaintiffs would request
      the opportunity to submit additional evidence as well.




                                                     14
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 15 of 22 PageID# 2826



  information about through their subsequent business relationship.        That cannot be.     Judge

  Buchanan properly determined that the Court cannot take a wait and see approach and permit

  Keats McFarland to represent Joe Loomis and divulge confidential information unless and until

  the case returns to the trial docket.    What is to prevent Keats McFarland from disclosing

  confidential information to Joe Loomis prior to that date? Such a position is untenable.

         Finally, Joe Loomis brazenly argues that Plaintiffs’ failure to produce more formal

  documentation evidencing an attorney-client relationship between NEI and Keats McFarland in

  2007 suggests that no such relationship existed. Joe Loomis conveniently neglects to mention

  that after he was suspended by NEI in 2008, he destroyed innumerable NEI files, which was the

  subject of the sanctions motion pending at the time of the settlement of this case. He cannot now

  use his spoliation of evidence to penalize Plaintiffs for failing to produce further documentation.

  Indeed, Joe Loomis’ own emails are sufficient to establish the existence of an attorney-client

  relationship.

         Virginia Rule of Professional Conduct 1.9(a) prohibits a “lawyer who has formerly

  represented a client in a matter,” from “thereafter represent[ing] another person in the same or a

  substantially related matter” when the present and former clients’ “interests are materially

  adverse.” Rule 1.10 precludes any lawyer in a firm from representing a client when any other

  lawyer in that firm would be barred under Rule 1.9. Larry McFarland could not represent Joe

  Loomis against its former client, NEI, without violating Rule 1.9, and Emil Herich as Of Counsel

  to Keats McFarland thus is barred as well. Judge Buchanan properly found that, based upon the

  evidence before the Court, Keats McFarland represented NEI regarding the Acquisition and

  letter process and obtained confidential information such that disqualification was warranted.

         D.       The Court Properly Found that the Business Relationship Between Keats
                  McFarland and NEI Supported Disqualification



                                                  15
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 16 of 22 PageID# 2827



         Joe Loomis contends that Judge Buchanan improperly relied upon Keats McFarland’s

  confidential business relationship with NEI as grounds for disqualification. Joe Loomis contends

  that neither Virginia Rule of Professional Responsibility 1.7 nor Rule 1.9 apply to business

  relationships. This is incorrect. Rule 1.7 addresses ethical conflicts prompted by former clients

  as well as third parties, such that a former business relationship could form the grounds for

  disqualification.   See Rule 1.7(a)(2) (“. . . a lawyer shall not represent a client if the

  representation involves a concurrent conflict of interest. A concurrent conflict of interest exists if

  . . . there is significant risk that the representation of one or more clients will be materially

  limited by the lawyer’s responsibilities to . . . a former client or a third person….” (emphasis

  added)).

         It is undisputed that Keats McFarland and NEI have been involved in a confidential

  business relationship since in or about November 2007 regarding the new letter process. At the

  hearing, Keats McFarland submitted under seal a copy of the confidential business agreement

  entered into between Keats McFarland and NEI. It is undisputed that the agreement contains a

  confidentiality provision which prohibits Keats McFarland from disclosing confidential

  information to third parties, including its current client, Joe Loomis. In light of the allegations in

  the Complaint that Defendants overbilled and double billed customers for letters that were not

  sent or were billed by outside law firms, including Keats McFarland, it is beyond reasonable

  dispute that Keats McFarland possesses confidential information related to this case that it is

  contractually prohibited from disclosing to Joe Loomis. Keats McFarland’s representation of Joe

  Loomis in this matter thus would violate Rule 1.7. Accordingly, the Court properly disqualified

  Keats McFarland on the basis of its confidential business relationship with NEI.

         E.      The Court Properly Considered Defendants’ Identification of Larry
                 McFarland as a Trial Witness as Evidence Supporting Disqualification



                                                   16
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 17 of 22 PageID# 2828



          Joe Loomis contends that Judge Buchanan improperly found that Defendants’

  identification of Larry McFarland on their trial witness list supported the disqualification of

  Keats McFarland and Emil Herich. Specifically, Joe Loomis argues that Virginia Rule of

  Professional Conduct 3.7(c) permits one lawyer in a firm to represent a client in an adversarial

  proceeding where another lawyer in the firm likely will be called as a witness. This is true, but

  only where doing so would not violate Rules 1.7 or 1.9.

          As explained above, Keats McFarland’s representation of Joe Loomis against NEI in this

  case would violate Rule 1.7. Such a representation also would violate Rule 1.9 which prohibits

  Keats McFarland from using confidential information it obtained in the course of its legal

  representation of NEI to disadvantage NEI.            See Rule 1.9 (a “lawyer who has formerly

  represented a client in a matter or whose present or former firm has formerly represented a client

  in a matter shall not thereafter: (1) use information relating to or gained in the course of the

  representation to the disadvantage of the former client . . . ; or (2) reveal information relating to

  the representation . . . .”).

          Joe Loomis contends, however, that it is unlikely that Larry McFarland would testify if

  this case were returned to the trial docket. Whether or not Larry McFarland would testify is

  beside the point. Larry McFarland’s inclusion on the witness list is simply additional evidence

  that Keats McFarland possesses confidential information regarding this case.           Joe Loomis’

  excuse du jour for identifying Larry McFarland only as a “character” witness notwithstanding,

  the evidence before the Court was that Larry McFarland and Keats McFarland possess

  confidential information related to the underlying disputes in this case. For example, Keats

  McFarland was responsible for preparing and reviewing certain Closing documents as Schedules

  to the SPA, the authenticity of which Joe Loomis now disputes in this litigation.              Larry




                                                   17
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 18 of 22 PageID# 2829



  McFarland and Keats McFarland provided legal advice to NEI with respect to the acquisition

  regarding NEI’s development of a new cease and desist letter process – the very letter process by

  which Defendants defrauded Plaintiffs after Closing. Further, Keats McFarland was the outside

  law firm that billed certain of NEI’s top customers for letter services after Closing pursuant to a

  confidential business agreement with NEI and for which Defendants then double billed the

  customers, as alleged in the Complaint.          Keats McFarland thus possesses confidential

  information far beyond Joe Loomis’ “character” as Joe Loomis now claims. The Court thus

  properly considered Larry McFarland’s inclusion on the witness list as evidence supporting

  disqualification.

         F.      The Court Properly Found a Risk that Emil Herich or Keats McFarland
                 Could Disclose Confidential Information to Joe Loomis

         Joe Loomis contends that the Court improperly disqualified Emil Herich and Keats

  McFarland because there was no showing of any risk that confidential information could be

  disclosed to Joe Loomis. Specifically, Joe Loomis claims that there is no risk of disclosure

  because he would know any confidential information the law firm obtained through its attorney-

  client relationship with NEI before Closing or its business relationship after Closing, since he

  was NEI and all communications with Keats McFarland were made through him. This is

  absolutely contrary to Joe Loomis’ position throughout this case - that he knows nothing.

  Nothing about the overbillings or the double billings for letter services. Nothing about the letter

  process. Nothing about the Acquisition. Certainly, nothing after Closing, as he quickly became

  bored and turned to running another company with his brother. Indeed, he claims he cannot even

  authenticate the Employment Agreement and SPA because he never read them. For Joe Loomis

  now to claim that he and NEI were one in the same such that he knows everything NEI could

  have disclosed to Keats McFarland would be surprising - if this were any other case.



                                                  18
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 19 of 22 PageID# 2830



  Notwithstanding, Joe Loomis should be estopped from taking such a drastically contradictory

  position in this case at this juncture.

          Further, Joe Loomis’ reliance upon Christensen v. United States District Court for

  Central Dist. Of California, 844 F.2d 694 (9th Cir. 1988) and Allegaert v. Perot, 565 F.2d 246

  (2d Cir. 1977), for the proposition that disqualification is not proper where no confidential

  information could have been disclosed because of the identity of the client is misplaced. As Joe

  Loomis concedes in a footnote, the only courts that have analyzed this issue under Virginia law

  have rejected the so-called Allegaert rule espoused by those cases. In Sharp v. Sharp, 2006 WL

  3088067 (Va. Cir. Ct. Oct. 26, 2006), the Virginia Circuit Court, faced with a dispute between

  brothers, considered a motion to disqualify one brother’s attorney because that attorney had once

  jointly represented the brothers in a real estate transaction. Id. at *4. Although the court denied

  the motion because the subjects of the two representations were not “materially adverse” to one

  another, id. at *24, the court explicitly rejected the argument, based on the Allegaert line of

  cases, that the attorney could not be disqualified because each brother “had no reason to believe

  that confidences of one party would be withheld from the other.” Id. at *25. In distinguishing

  Allegaert, the court stated that Virginia Rule of Professional Conduct 1.9 was “much broader”

  than the rule applied in Allegaert (based on the ABA Model Rules), because the Virginia Rule

  “was designed not only to address the need to protect client confidences, but to establish broader

  standards of attorney loyalty.” Id. at *26. Because the Virginia Rule defines the scope of its

  prohibition in terms of material adverse “interests” rather than “confidences and secrets,” the

  court held that an attorney’s “prior representation cannot amount to implied consent to the

  current representation,” regardless of a party’s reasonable expectation of whether or not

  confidential information will be shared. Id.




                                                  19
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 20 of 22 PageID# 2831



         In Touchcom, Inc. v. Bereskin & Parr, 299 Fed. App’x 953 (Fed. Cir. 2008), the Federal

  Circuit, applying Virginia law in a suit brought by Touchcom against its former employee,

  Samuel Frost, disqualified Touchcom’s law firm because it had formerly represented Frost in a

  deposition related to an earlier Touchcom suit. Id. at 956. Touchcom, citing Allegaert, argued

  that “Frost had no expectation that any information he conveyed to Wildman Harrold would be

  withheld from Touchcom.” Id. at 954. The court declined to follow the Allegaert rule holding

  that the Rule 1.9 “was designed not only to protect client confidences, but ‘to establish broader

  standards of attorney loyalty.’” Id. at 955-56.

         This Court properly found that, based upon the evidence, Emil Herich and Keats

  McFarland should be disqualified from representing Joe Loomis against NEI in this case.

                                       IV.     CONCLUSION

         WHEREFORE, Plaintiffs respectfully request that the Court overrule Joe Loomis’

  Objections and affirm the Order disqualifying Mr. Herich and Keats McFarland from appearing

  as counsel on behalf of Joe Loomis in this litigation.



  Dated: October 22, 2010                           Respectfully submitted,

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                                                     20
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 21 of 22 PageID# 2832



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                                       21
Case 1:09-cv-00597-LMB-TCB Document 212 Filed 10/22/10 Page 22 of 22 PageID# 2833



                                CERTIFICATE OF SERVICE

          I hereby certify that on the 22nd day of October, 2010, I will electronically file the
  foregoing Plaintiffs’ Response to Defendant Joseph C. Loomis’ (“Joe Loomis”) Objections to
  Magistrate Judge’s Decision on Nondispositive Matter and Request for Reconsideration by
  District Court of Magistrate Judge’s Ruling with the Clerk of the Court using the CM/ECF
  system, which will then send a notification of such filing (NEF) to the following:

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